                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION


 MICHAEL JAMES WINTERS,                                  Case No. 6:20-cv-2082

       Plaintiff,

 v.
                                                        NOTICE OF REMOVAL
 DEERE AND COMPANY,

        Defendant.


       Defendant, Deere and Company, hereby removes this action to the United States District

Court for the Northern District of Iowa, and in support thereof states:

       1.      On September 18, 2020, Plaintiff commenced the above-entitled action against

Defendant in the Iowa District Court in and for Black Hawk County, and it is now pending therein

as case number LACV141066.

       2.      The above-entitled action is a civil action in which Plaintiff assert claims of

disability and age discrimination in violation of Iowa Code Chapter 216. Plaintiff seeks an award

of compensatory damages, attorneys’ fees, interest, and costs in an undisclosed amount.

       3.      On or about September 22, 2020, the Original Notice and Petition at Law were

personally served upon the Defendant. A copy of the Original Notice, Petition at Law and Demand

for Jury Trial, and Return of Service are attached as Exhibits A, B, and C, respectively, and are

incorporated herein by this reference.

       4.      No further proceedings have occurred in the Iowa District Court in and for

Black Hawk County in this case.

       5.      Plaintiff is a citizen of the state of Iowa, residing in Jesup, Buchanan County, Iowa.




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       6.      Defendant, Deere and Company, is a Delaware corporation, headquartered in

Moline, Illinois.

       7.      There is complete diversity of citizenship between Plaintiff and Defendant.

       8.      Plaintiff seeks compensatory damages under Iowa Code Chapter 216, which can

include lost wages and benefits, future earnings, mental and emotional distress, and attorneys’ fees.

Defendant expects Plaintiff to contend that his damages exceed $75,000.00. Accordingly, the

amount in controversy in this matter, exclusive of interest and costs, exceeds $75,000.00.

       9.      This Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1332(a)(1)

and, therefore, it may properly be removed to this court pursuant to 28 U.S.C. § 1441.

       10.     This Notice is filed with the court within thirty days after service on Defendant of

the Petition in the above-entitled action.

       11.     A copy of this Notice of Removal is being filed with the Iowa District Court in and

for Black Hawk County.

       WHEREFORE, Deere and Company gives notice of the removal of the above-entitled

action from the Iowa District Court in and for Black Hawk County to the United States District

Court for the Northern District of Iowa.

                                                      /s/ Benjamin P. Roach
                                                      Benjamin P. Roach AT0006588
                                                      NYEMASTER GOODE, P.C.
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                                                      ATTORNEYS FOR DEFENDANT




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2020, I electronically filed the foregoing with the Clerk
of Court using the ECF, which will send notification of such filing to:

Mark W. Fransdal
Redfern, Mason, Larsen & Moore, PLC
415 Clay Street
P. O. Box 627
Cedar Falls, IA 50613
Email: mwfransdal@cflaw.com

ATTORNEY FOR PLAINTIFF




                                                      /s/ Benjamin P. Roach




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